         Case 1:16-md-02677-GAO Document 394 Filed 04/25/19 Page 1 of 4




                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS




In Re: DAILY FANTASY SPORTS                                         MDL No. 1:16-MD-02677-GAO
LITIGATION


         This Document Relates To:
         All Actions




    DEFENDANTS’ JOINT REQUEST FOR STATUS CONFERENCE REGARDING
         ARBITRATION DEMANDS BY PURPORTED CLASS MEMBERS

         Defendants FanDuel, Inc. and DraftKings Inc. request a status conference to address

issues raised by demand letters sent to FanDuel and DraftKings by the Keller Lenkner firm

seeking to resolve – on an aggregated basis – arbitration claims of thousands of putative class

members in this action.1 (See Decl. of M. Zwillinger, Ex. 1; Decl. of D. Marshall, Ex. 1). Keller

Lenkner claims it represents a group of nearly 10,000 clients who intend to file individual

arbitrations if FanDuel and DraftKings do not agree to discuss an “alternative process” for

resolving their clients’ claims. Id.2

         As the attachments to Keller Lenkner’s letters make clear, the arbitration demands are

little more than yet another putative class action, raising materially identical claims to the claims

asserted in the actions consolidated in this proceeding. (See Decl. of M. Zwillinger, Ex. 2; Decl.

of D. Marshall, Ex. 2). The attached arbitration demands allege facts and claims nearly identical

to the core allegations in these proceedings, including claims under state unfair trade practice


1
  Defendants conferred with Plaintiffs’ counsel regarding this request and Plaintiffs do not object.
2
  Keller Lenkner’s letters requested a response by April 12, 2019 but have not indicated a specific date on which
they intend to begin filing arbitration demands against FanDuel or DraftKings.
         Case 1:16-md-02677-GAO Document 394 Filed 04/25/19 Page 2 of 4



statutes3 based on deposit match promotions, statements regarding the legality of fantasy sports,

insider play, and treatment of high-value players. The arbitration demands seek the same

damages and any arbitration will address the same issues of law as this proceeding. Taken

together, the threatened “arbitrations” are a mass action that substantially duplicates these

proceedings and, if it were a case filed in or removed to federal court would be consolidated

before this Court.

         A status conference is necessary to minimize harm to Defendants and the putative class

members. If Keller Lenkner files thousands of individual arbitrations before this Court rules on

the pending motions, the putative class members and Defendants will face a substantial risk of

inconsistent rulings regarding the threshold issue of in which forum these issues will be litigated.

Here, a putative class seeks to avoid arbitration based on the alleged unenforceability of each

clause, and in FanDuel’s case, a claim that no contract was formed. But Keller Lenkner’s

thousands of purported clients seek to enforce these exact same arbitration clauses against both

FanDuel and DraftKings. This Court’s decision on Defendants’ motions to compel arbitration

will influence any concurrent arbitrations. The decisions of arbitrators in individual actions

could conflict with this Court’s rulings on threshold issues of arbitration, arbitrability, and

contract formation. And while Defendants agree that any question of arbitrability of claims is

delegated to the arbitrator, under their Terms of Use’s delegation clauses, the putative class has

challenged the enforceability of these Terms. Moreover, any dispute over either parties’ refusal

to pay arbitration fees for certain arbitration claims would likely need to be resolved by this

Court and/or be consolidated into the MDL.



3
  N.Y. Gen. Bus. L. §§ 349 & 350; Mass. Gen. Laws ch. 93A, et seq., Cal. Civ. Code § 1750, et seq. & 17200; 815
Ill. Comp. Stat. § 505, et seq.; Tex. Bus. & Com. Code § 17.41 et seq.; and 73 Pa. Stat. Ann. § 201-1 et seq.; N.J.
Stat. Ann. § 56:8-1, et seq.; and common law fraud and unjust enrichment.



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        Case 1:16-md-02677-GAO Document 394 Filed 04/25/19 Page 3 of 4



       Defendants believe that a status conference is appropriate to discuss the status of this

proceeding, whether Keller Lenkner’s stated positions that contradict the representative

plaintiffs’ response to Defendants’ motions to compel arbitration will result in either the opt out

or exclusion from the class of thousands of purported class members, and how this case will

proceed if thousands of arbitrations are filed while this Court’s ruling remains pending on

Defendants’ motions to compel arbitration.


Dated: April 25, 2019                                Respectfully submitted,

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       Case 1:16-md-02677-GAO Document 394 Filed 04/25/19 Page 4 of 4



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of April, the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system and will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF), under Local Rule 5.4(C).


Dated: April 25, 2019
                                                          /s/Jacob A. Sommer
                                                              Jacob A. Sommer




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